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                          UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


                                                  )
 SARAH PADILLA,                                   )
                                                  )
             Plaintiff,                           )
                                                  )
 v.                                               ) Civil Action No. _________________
                                                  )
                                                  )
 ACS Group; and                                   )
 DOE 1-5                                          )
                                                  )
 .,………….Defendants.                               )
                                                  )
                                                  )
                                                  )




                                           COMPLAINT
                                       (Jury Trial Demanded)

        1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

 1692 et seq. (“FDCPA”).



                                  JURISDICTION AND VENUE

        2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

 This District is of proper venue as Plaintiff is a resident within this District and Defendants

 engaged in the activities herein alleged against Plaintiff while Plaintiff so resided.




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                                              PARTIES

        3.      Plaintiff, Sarah Padilla (hereinafter “Plaintiff” or “Mrs. Padilla”), is a natural

 person residing in Edgewater, Colorado. Defendant, ACS Group is believed to maintain its

 principle place of business at 3840 E. Robinson Rd. #165 in Amherst, NY.

        4.      Plaintiff is ignorant of the true names and capacities of the defendants sued

 herein as DOE 1-5, and therefore sues these defendants by such fictitious names. Plaintiff will

 amend this Complaint to allege the true names and capacities once ascertained. Plaintiff believes

 and thereon alleges that the fictitiously named defendants are responsible in some manner for the

 occurrences herein alleged, and that such defendants are responsible to Plaintiff for damages

 and/or monies owed.

        5.      ACS Group and DOE 1-5 shall hereafter be jointly referred to as “Defendants.”

        6.      Defendants regularly operate as third-party debt collectors and are “debt

 collectors” as defined by 15 U.S.C. 1692a.



                                   FACTUAL ALLEGATIONS

        7.      Defendants engaged in debt collection efforts in an attempt to collect a consumer

 debt allegedly owed by Mrs. Padilla.

        8.      In mid-2012 Defendants began leaving voicemail messages for Mrs. Padilla on

 her mother’s home phone number.

        9.      Defendants repeatedly left the same voicemail message for Mrs. Padilla, the

 content of which is as follows: “You have an important legal matter in our office and we need a

 statement from you today. Failure to contact our office today will result in a statement being

 provided for you and we will continue our legal proceedings. You may press zero to be




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 connected to an agent immediately or you can call our office at 866-850-3712. Again this is an

 important and confidential message for Sarah Meier, account number 1371178. You have an

 important legal matter in our office and we need a statement from you today. Failure to contact

 our office today will result in a statement being provided for you and we will continue our legal

 proceedings. You may press zero to be connected to an agent immediately or you can call our

 office at 866-850-3712. This is an attempt to collect a debt. Any information will be used for

 that purpose.”

        10.       Defendants continued to call and leave the messages on Mrs. Padilla’s mother’s

 home phone number through March 28, 2014. Mrs. Padilla does not reside with her mother.

 Mrs. Padilla’s mother would advise Mrs. Padilla of the messages and forward them to her. Mrs.

 Padilla never authorized Defendants to discuss her alleged debt or otherwise

 communicate with her mother or any other third-party.

        11.       Increasingly concerned and harassed by Defendants’ calls, Ms. Padilla retained

 counsel with Centennial Law Offices.

        12.       As a direct result of the collection activity herein alleged, Ms. Padilla incurred

 legal fees of $2,555.00.



                                        CAUSES OF ACTION

                                               COUNT I

        13.       Plaintiff re-alleges paragraphs 1 through 12, inclusive, and by this reference

 incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

 herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692d(6) with regards to




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 Plaintiff as follows: Defendants failed to provide meaningful disclosure of their identity in their

 telephone messages to Plaintiff.



                                             COUNT II

        14.     Plaintiff re-alleges paragraphs 1 through 12, inclusive, and by this reference

 incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

 herein alleges that Defendants, and each of them, violated 15 U.S.C. 1692c(b) by

 communicating, in connection with the collection of a debt, with a third-party without Plaintiff’s

 consent.



                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff prays judgment against Defendants, and each of them, recovery for

 each cause of action in the alternative, as follows:


        1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

        2.) For $2,555.00 in legal fees incurred in responding to unlawful collection activity;

        3.) For prejudgment interest in an amount to be proved at time of trial;

        4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k);

        5.) For the costs of this lawsuit; and

        6.) For any other and further relief that the court considers proper.



                                          JURY DEMAND

        Plaintiff demands a jury trial.




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  Date: September 12, 2014
                                      s/Robert Amador
                                      ________________________________________
                                      ROBERT AMADOR, ESQ.
                                      Attorney for Plaintiff SARAH PADILLA
                                      Centennial Law Offices
                                      9452 Telephone Rd. 156
                                      Ventura, CA. 93004
                                      (888)308-1119 ext. 11
                                      (888)535-8267 fax
                                      R.Amador@centenniallawoffices.com




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